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                 Exhibit I
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From: Josh Levy <jal@levyfirestone.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al
Date: May 17, 2021 at 9:15:10 AM EDT
To: Joe Oliveri <joe@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp <eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke <libby@clarelocke.com>,
Andy Phillips <andy@clarelocke.com>

Joe:

I understand that you would like me to respond to your questions
about what you say may be a violation of the “spirit” of DC Rule of
Professional Conduct 4.2. Each of your questions would require
me to reveal privileged information. We will not disclose privileged
communications in response to your questions. That said, to the
extent that you seek assurance that no attorney for my clients will
contact anyone associated with your clients about this case, other
than you or others at your firm, you have that assurance.

Josh



Joshua A. Levy
Partner

Levy | Firestone | Muse
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client privileged, may constitute inside information, and is intended only for the
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and immediately destroy this communication and all copies thereof, including all
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attachments.

IRS Circular 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue
Service, we inform you that any tax advice contained in this communication
(including any attachments) was not intended or written to be used, and cannot
be used, by any taxpayer for the purpose of (1) avoiding tax-related penalties
under the U.S. Internal Revenue Code or (2) promoting, marketing or
recommending to another party any tax-related matters addressed herein.
···




From: Joe Oliveri <joe@clarelocke.com>
Sent: Thursday, May 13, 2021 11:28 AM
To: Josh Levy <jal@levyfirestone.com>; Rachel Clattenburg
<rmc@levyfirestone.com>; Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Libby Locke
<libby@clarelocke.com>; Andy Phillips <andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al

Hi Josh,

We can use this dial-in: (888) 444-3808, Passcode 90205#.

Also, I note for the record that, once again, in your email below
you did not address the issue of the back-channel outreach to
Plaintiff Khan (through his son-in-law) from Defendants’ former
counsel in this case—which we have raised with you numerous
times now. As Tom explained in his April 16 letter to you, the
attempt by Defendants’ counsel to communicate a settlement offer
to a family member of Mr. Khan raises significant concerns and
clearly violates the spirit, if not the letter, of D.C. Rule of
Professional Conduct 4.2.

We have asked you multiple times to:
  1. Please confirm that you were not aware of the effort to go
around Mr. Khan’s counsel and communicate with Mr. Khan and
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that you did not authorize it—or confirm that you were aware of
that effort and/or did authorize it.
  2. Please explain how this effort came about, and who did
authorize it.
  3. Please confirm that there have not been—and that there will
not be—any similar clandestine attempts by counsel for
Defendants.

To date, you have ignored our requests to explain this issue and
confirm that it will not happen again. Please promptly provide this
information.

Best,
Joe

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com
